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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  TIMES PUBLISHING COMPANY,

                Plaintiff,

  v.                                                    Case No. 8:23-mc-0014-WFJ-SPF
                                                                 8:23-mj-1541-SPF
  UNITED STATES OF AMERICA,

              Defendant.
  ____________________________________/

                                           ORDER
         On May 4, 2023, the undersigned found probable cause supported the United

  States’ application for a warrant to search 5914 North Tampa Street, Tampa, Florida

  33604, for evidence relating to violations of 18 U.S.C. § 1030 (intentional unauthorized

  access of a computer), and 18 U.S.C. § 2511 (intentional interception and disclosure of

  wire, oral, or electronic communication). In the Matter of the Search of Premises Located at

  5914 North Tampa Street, No. 8:23-mj-1541-SPF. The Court approved the search warrant

  and, at the United States’ request and in the interests of justice, sealed the warrant

  application, the warrant, the affidavit supporting the warrant, the United States’ motion

  to seal these documents, and the Order sealing them. FBI agents executed the search

  warrant on May 8, 2023, an act that made national news.

         Last week, the Times Publishing Company moved to intervene in the criminal

  proceeding and requested the Court unseal the application, warrant, affidavit, motion to

  seal, the Court’s Order sealing the documents, and any search warrant returns (the
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  “Search Warrant Records”) (Times Publishing Company v. United States, No. 8:23-mc-0014-

  WFJ-SPF, Doc. 1). The Court granted the media company’s request to intervene and –

  with the United States’ consent – unsealed redacted versions of the Search Warrant

  Records, except for the federal agent’s affidavit supporting the search warrant (Id., Doc.

  18). The Court deferred ruling on the Times Publishing Company’s motion to unseal the

  affidavit and ordered the Times Publishing Company to file a supplemental brief, which

  it has (Id., Docs. 21-22).

         Neither side disputes the media and the public’s right of access to judicial

  proceedings and records. See Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d

  1304, 1310-11 (11th Cir. 2001); Nixon v. Warner Commc’ns, 435 U.S. 589, 597-98 (1978).1

  Likewise, the parties agree this right of access is not absolute: it yields to a compelling

  governmental interest, provided any restriction on information is narrowly tailored to

  serve that interest. See In re Search of Office Suites, 925 F. Supp. at 742, applying Globe

  Newspaper Co. v. Superior court for the County of Norfolk, 457 U.S. 596, 606-07 (1982).

  Considering this, to decide if the agent’s affidavit should remain under seal, the Court

  must weigh the public’s right of access to the contents of the affidavit against the United

  States’ interest in keeping the information under seal.




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    This right of access extends to search warrants and affidavits the government has
  executed and returned, subject to the balancing test articulated here. See In re Search of Office
  Suites for World & Islam Studies Enter., 925 F. Supp. 738, 742 (M.D. Fla. 1996) (denying
  media’s motion to unseal warrant and affidavit after applying balancing test but noting,
  “once search warrants are executed and returned, absent an order sealing the documents,
  both the search warrant and the affidavit are part of the public domain and subject to the
  common law right of access by the public.”).


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         After examining the affidavit in camera and weighing the parties’ arguments, the

  Court denies the Times Publishing Company’s motion to unseal. On the one hand,

  multiple media outlets, including the Times Publishing Company, have reported on the

  FBI’s search (see 8:23-cv-0014-WFJ-SPF, Doc. 22 at 1-2). The searched premises belongs

  to a member of the media. And the media has publicly speculated about the identity of

  some of the alleged victims of the crimes under investigation (Id.). These factors boost the

  public’s interest in the affidavit’s contents. But on the other hand, the agent’s affidavit

  details the scope and direction of the Government’s investigation, identifies the

  individual(s) being investigated, references the identities of victim(s), witness(es), and/or

  co-conspirator(s), and reveals the agent’s investigative techniques. Compounding these

  factors is that the criminal proceeding is pre-indictment – disclosing the contents of the

  agent’s affidavit likely would stymie both the nature of the Government’s investigation

  and how law enforcement is conducting it. Weighing the public’s right of access against

  these compelling governmental interests, the scale tips in the United States’ favor. See

  United States v. Valenti, 987 F.2d 708, 714 (11th Cir.), cert. denied, 510 U.S. 907 (1993)

  (acknowledging prejudice to ongoing investigation as compelling reason for denying

  motion to unseal transcripts of closed proceedings).

         Even so, the balancing test requires the Court to determine if there are less

  restrictive means to protect the investigation short of sealing the entire affidavit. The

  Times Publishing Company urges the Court “at a minimum” to unseal a redacted version

  of the affidavit (Doc. 22 at 1). The Court has scrutinized the affidavit with the public’s

  right of access in mind and contemplated unsealing a redacted version as a less restrictive



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  way to guard the Government’s interests. Redacting names will shield the individuals

  identified in the affidavit but likely would frustrate the investigation in other ways. Almost

  every paragraph of the affidavit, either explicitly or implicitly, reveals details of the

  investigation, including how and when the alleged incident(s) occurred, the private

  information intruded upon, the techniques the agent employed to investigate the

  intrusions, and/or who was carrying out the cyber intrusions and why. Put differently,

  each section of the affidavit builds on the one before it, and the sum of these parts equals

  the Government’s probable cause. If disclosed – even in redacted form – there is the real

  and legitimate risk that the Government’s ongoing investigation would be compromised

  by someone piecing together the timeline, scope, and direction of the investigation. Also

  at risk are the privacy and security of the potential subject(s) of the investigation as well

  as any cooperating witness(es), the victim(s), and the agent(s) involved. Even information

  in the affidavit that is already publicized is “inextricably intertwined with the

  Government’s argument for probable cause” and cannot be unsealed. In re Search of Office

  Suites, 925 F. Supp. at 744. Sealing the entire affidavit is necessary to protect the integrity

  of the United States’ investigation.

         After careful consideration, the undersigned finds that the most narrowly tailored

  method for safeguarding the Government’s compelling interests is to deny the Times

  Publishing Company’s motion to unseal the agent’s affidavit. The seal shall remain in

  effect until the Government moves to unseal the document or one year from May 4, 2023,

  whichever occurs first.




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         The Court ORDERS:

         (1) The Times Publishing Company’s request for the Court to unseal the agent’s

            probable cause affidavit is DENIED.

         ORDERED in Tampa, Florida, on June 2, 2023.




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